UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
  CATHERINE MCKOY, MARKUS FRAZIER, and
  LYNN CHADWICK, individually and on behalf of all
  others similarly situated,

                         Plaintiffs,
               v.                                                  No. 1:18-cv-09936 (LGS)
  THE TRUMP CORPORATION, DONALD J. TRUMP,
  in his personal capacity, DONALD TRUMP, JR., ERIC
  TRUMP, and IVANKA TRUMP,

                         Defendants.


                          DECLARATION OF LYNN CHADWICK

        I, Lynn Chadwick, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true and correct:

        1.     I participated in ACN as an Independent Business Owner (“IBO”) from 2013-

2014.

        2.     During my time as an ACN IBO, I was a resident of Pennsylvania.

        3.     Donald Trump’s endorsement convinced me to join ACN. I relied on Trump’s

endorsement of ACN and his statements about the ACN IBO Opportunity when I decided to

spend $499 to enroll as an ACN IBO.

        4.     I never made any money with ACN. I did not even recover my $499 sign-up fee.

        5.     My understanding is that, as a proposed class representative, I represent other

people who became ACN IBOs because they believed what Trump said about the IBO

Opportunity.

        6.     I have read the Complaint filed in this case and am familiar with what it says. It

includes allegations based on my experience with ACN.


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